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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                         )
                                                   )
        Plaintiff,                                 )
                                                   )
                        v.                           Civil Action No. 1:04-cv-00798-PLF/GMH
                                                   )
                                                   )
                                                   )
 ALL ASSETS HELD AT BANK JULIUS
                                                   )
 BAER & COMPANY, LTD., GUERNSEY
                                                   )
 BRANCH, ACCOUNT NUMBER 121128,
                                                   )
 IN THE NAME OF PAVLO
                                                   )
 LAZARENKO, LAST VALUED AT
                                                   )
 APPROXIMATELY $2 MILLION IN
                                                   )
 UNITED STATES DOLLARS, ET AL.,
                                                   )
                                                   )
        Defendants.                                )

     JOINT STATUS REPORT AND MOTION TO ENTER SCHEDULING ORDER

       Plaintiff United States of America and Claimants Pavel, Katerina and Lecia Lazarenko

(the “Parties”) jointly file this Status Report as ordered by the Court on May 4, 2020 (Dkt. No.

1266). The Parties have conferred and respectfully request that the Court stay expert discovery

for 120 days, until September 14, 2020, with the hope that the Court has the opportunity to issue

opinions in the pending (and soon to be filed) dispositive motions. The Parties submit that it

would not be an efficient use of the Parties’ efforts or those of the Court to move forward with

expert discovery or the resolution of any pending discovery disputes while the dispositive

motions are pending. The Parties suggest that the Court enter an Order directing the Parties to

file an updated status report with the Court by September 1, 2020.

       Claimants Katerina and Lecia Lazarenko intend to take limited expert discovery

concerning the United States’ Motion to Strike the Claims of Ekaterina Lazarenko and Lecia

Lazarenko to all Assets Held in the Accounts of the Balford Trust (Dkt. No. 1256). If the Parties
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cannot reach an agreement with regard to that discovery, Claimants Katerina and Lecia

Lazarenko will file a motion for the Court’s consideration no later than May 18, 2020.

       A Proposed Order is attached.



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 AND ASSET RECOVERY SECTION

 By: /s/ Adam J. Schwartz



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